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      Carolyn Smith, et al. v. James E. Bailey,
                       et al.

                                  Kelvin King

                                April 29, 2025




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                                   EXHIBIT 10
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF MISSISSIPPI
                              WESTERN DIVISION

           CAROLYN SMITH, SHAQUITA McCOMB,                       PLAINTIFFS
           BONITA BLAKE, SANDRA SANDERS,
           AND JAMES ELLIS, JR.

           VS.                  CIVIL ACTION NO. 5:24-cv-72-DCB-ASH

           JAMES E. BAILEY, IN HIS                               DEFENDANTS
           INDIVIDUAL CAPACITY AND IN HIS
           OFFICIAL CAPACITY AS SHERIFF OF
           JEFFERSON COUNTY, MISSISSIPPI,
           AND DIRECTOR OF THE
           JEFFERSON-FRANKLIN REGIONAL
           CORRECTIONAL FACILITY, AND
           JEFFERSON COUNTY, MISSISSIPPI




                             DEPOSITION OF KELVIN KING

            Taken at the Jefferson County Circuit Courthouse,
                            1483 Main Street,
                          Fayette, Mississippi,
                       on Tuesday, April 29, 2025,
                  beginning at approximately 12:10 p.m.




                                     REPORTED BY:

                      ELLA J. HARDWICK, CVR-M, CCR #1749



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      1              APPEARANCES                                          1                    KELVIN KING,
      2     CARROLL E. RHODES, ESQ.                                       2              having been first duly sworn,
            Law Offices of Carroll Rhodes
      3     119 Downing Street                                            3         was examined and testified as follows:
            Hazlehurst, Mississippi 39083-3001                            4                MR. CARPENTER: At this point, we'll
      4       Email: Crhode@bellsouth.net                                 5            reserve the issue on reading and signing
      5       COUNSEL FOR PLAINTIFFS                                      6            until after deposition. We may let it go.
      6
            THOMAS L. CARPENTER, JR., ESQ.                                7                MR. RHODES: Usual stipulations?
      7     Wise Carter                                                   8                MR. CARPENTER: Yeah. And he knows
            2510 14th Street, Suite 1125                                  9            what they are, so we're good to go.
      8     Gulfport, Mississippi 39501
              Email: Tlc@wisecarter.com
                                                                         10                MR. RHODES: Okay. Good.
      9                                                                  11                    EXAMINATION
                COUNSEL FOR DEFENDANTS                                   12     BY MR. RHODES:
     10                                                                  13        Q. Good afternoon, Mr. King.
     11   ALSO PRESENT: Ms. Carolyn Smith
                Nickita S. Banks, Esq.                                   14        A. Good afternoon.
     12         Sheriff James Bailey, Sr.                                15        Q. My name is Carroll Rhodes, and I represent
     13                                                                  16     Ms. Carolyn Smith and all the other folks who've
     14                                                                  17     filed suit against Mr. Bailey and the county, and
     15
     16                                                                  18     we're here today to take your deposition.
     17                                                                  19            I want to ask you: Have you given a
     18                                                                  20     deposition before?
     19
     20
                                                                         21        A. I have.
     21                                                                  22        Q. So you're familiar with the process?
     22                                                                  23        A. Yes, sir.
     23                                                                  24        Q. Okay. And you understand that you were
     24
     25
                                                                         25     sworn in, and any statement you give today is


                                                                Page 3                                                 Page 5
      1              TABLE OF CONTENTS                                    1     really testimony under oath as if you were in a
      2                                         PAGE                      2     courtroom testifying?
      3   Title Page..................................... 1
      4   Appearance Page................................ 2               3        A. Yes, sir.
      5   Table of Contents.............................. 3               4        Q. And I might ask a convoluted question or
      6   Exhibit Index.................................. 3               5     one that doesn't make sense, and if you don't
      7   Certificate of Court Reporter.................. 50
      8                                                                   6     understand what I asked, do not hesitate to ask me
                        EXAMINATION                                       7     to rephrase it or re-ask it or to tell me that you
      9                                                                   8     don't understand the question.
          Examination By Mr. Rhodes...................... 4
     10
                                                                          9        A. Yes, sir.
     11                 EXHIBITS                                         10        Q. And I presume that all the answers you
     12    NO.           DESCRIPTION          PAGE                       11     give, that you would have understood the question?
     13   Exhibit 1 Defendants' Answers to       9                       12        A. Yes.
                   Plaintiffs' First Set of
     14            Interrogatories                                       13        Q. Okay. Could you give us your name?
     15   Exhibit 2 Letter to Board of        11                         14        A. Kelvin T. King.
                   Supervisors from S. McComb                            15        Q. And how old are you, Mr. King?
     16
          Exhibit 3     Grievance Procedure                31            16        A. I'll be 52 Wednesday.
     17                                                                  17        Q. And where do you live?
          Exhibit 4 Letter to C. Smith from                34            18        A. Jefferson County.
     18            H. Felton and Response,
                   1/13/2024                                             19        Q. And what's your educational background?
     19                                                                  20        A. Masters in Ag business. Agriculture
          Exhibit 5     General Policy on Employment            40       21     business masters.
     20
     21
                                                                         22        Q. When did you get that?
     22                                                                  23        A. '97, 1997.
     23                                                                  24        Q. Where?
     24                                                                  25        A. Alcorn State University.
     25


                                                                                                 2 (Pages 2 to 5)
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      1      Q. And do you hold -- have any licenses or          1    supervisors?
      2   certifications?                                        2       A. Starting --
      3      A. Just banking certification. Financial.           3       Q. Is that yours?
      4      Q. Financial?                                       4       A. No. That's yours.
      5      A. Yes.                                             5       Q. That's mine?
      6      Q. What about any certifications in law             6           (INTERRUPTION; OFF THE RECORD.)
      7   enforcement?                                           7    BY MR. RHODES:
      8      A. No, sir. Just a gun permit; that's it, if        8       Q. Okay. And were you serving as the
      9   that means anything.                                   9    president of the board of supervisors when
     10      Q. And just for purposes later on if we have       10    Ms. Carolyn Smith, Shaquita McComb, Bonita Blake,
     11   to go to trial, do you have any close family          11    Sandra Sanders, and James Ellis sued the sheriff
     12   members who live in Wilkinson, Amite, Pike, Adams,    12    and the county?
     13   Franklin, Lincoln, Jefferson, or Claiborne            13       A. Yes. That's my first term, 2024, in
     14   counties?                                             14    January.
     15      A. Jefferson, I have close -- close family         15       Q. And we submitted some interrogatories to
     16   here. Claiborne, distant relatives.                   16    the county and the sheriff, and there's some
     17      Q. Okay. Last names, what are the last             17    responses that were the -- I'm going to hand that
     18   names?                                                18    to you in a second. Just ask you to -- if you'll
     19      A. King, Chambliss. In Jefferson, King,            19    look over and see if those are --
     20   Chambliss, in Jefferson. And King in Claiborne        20              MR. CARPENTER: You want to make that
     21   County.                                               21          Exhibit 1?
     22      Q. Okay. And do you hold any elected office?
                                                                22              MR. RHODES: Make that Exhibit 1.
     23      A. Yes, sir. I'm the board president for the
                                                                23              MR. CARPENTER: Okay. Got it.
     24   Jefferson County Board of Supervisors.
                                                                24              THE WITNESS: I'm just looking to see
     25      Q. And when were you first elected to the
                                                                25          over -- those are the plaintiffs. Okay.

                                                   Page 7                                                       Page 9
      1   Board of Supervisors?                                  1           (Witness reviews document.) This is
      2      A. 2020. It's my second term.                       2           stating the process.
      3      Q. And do you hold any other elected offices        3               MR. CARPENTER: That's correct.
      4   or appointed offices in Jefferson County?              4               THE WITNESS: Okay.
      5      A. No, sir.                                         5               MR. RHODES: Now I want to have it
      6      Q. Now, are you familiar with the                   6           marked as Exhibit 1.
      7   Jefferson-Franklin Regional Correctional Facility?     7               MR. CARPENTER: Sure. No objection.
      8      A. It is located here. Yes.                         8           (EXHIBIT 1 MARKED FOR THE RECORD.)
      9      Q. Okay. Do you know if there's -- do you           9    BY MR. RHODES:
     10   understand that that is a state facility, a           10       Q. Pass it back to him. Okay. Mr. King --
     11   facility of the Mississippi Department of             11       A. Yes, sir.
     12   Corrections?                                          12       Q. -- if you'll look on the first page, your
     13      A. I do understand that. Yes, sir.                 13    answer to Exhibit 1, and the question concerned --
     14      Q. Now, does the Mississippi Department of         14    first and second page is your answer, and the
     15   Corrections have a memorandum of understanding with   15    question was concerning persons known or reasonably
     16   Jefferson County concerning that correctional         16    believed by you or the county to have knowledge
     17   facility?                                             17    about the case that Ms. Smith and the others filed,
     18      A. It's been here for so long, I would assume      18    and there are people listed in that answer.
     19   so, but that's before my time.                        19           And I'm going to ask you, are those all
     20      Q. Because I was going to ask you about the        20    the people that you know have information about the
     21   terms, but you're not familiar with the terms of      21    lawsuit filed against Sheriff Bailey and the
     22   that?                                                 22    county?
     23      A. No, sir.                                        23       A. As far as I know of, these are the ones.
     24      Q. Okay. I can skip all that.                      24       Q. And you don't know of anybody else that
     25          And you were the president of the board of     25    has any knowledge about it?



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      1      A. No.                                              1     BY MR. RHODES:
      2      Q. Okay. Now, where did you get your                2        Q. Mr. King, I'm going to hand you what's
      3   knowledge from about these people having knowledge     3     been marked as Exhibit 2 and ask you if you could
      4   about it?                                              4     look through it and see if that refreshes your
      5      A. I know they first came to the board,             5     memory.
      6   should have been January, and they had some            6        A. Yes, it does. This was stated in the -- I
      7   concerns.                                              7     think it was stated twice in January from the
      8      Q. Okay.                                            8     in-person meeting and the Zoom meeting.
      9      A. And Ms. Smith stated at the meeting that         9        Q. And that's -- Ms. McComb said that she
     10   they had some -- we listened to the concerns. I       10     wanted to -- she felt that she was wrongfully
     11   can't remember right in depth what they were. And     11     terminated --
     12   we just directed it back to the sheriff because       12        A. Yes.
     13   he's elected, and, you know, we didn't have any       13        Q. -- from the Jefferson-Franklin Regional
     14   jurisdiction over there. But we did hear the          14     Correctional Facility?
     15   concerns.                                             15        A. She stated that. Yes.
     16      Q. Okay. Now, Ms. Smith came to the board in       16        Q. Now, I want to ask you about the other
     17   January?                                              17     plaintiffs, like Ms. Smith and Ms. Blake,
     18      A. No --                                           18     Ms. Sanders, and Mr. Ellis, all of them sort of
     19      Q. I'm going to list all of them.
                                                                19     stated that same --
     20      A. Yeah. I think, yeah, January and probably
                                                                20        A. Stated the same thing. I don't remember
                                                                21     Mr. Ellis coming, but I remember Ms. Smith and
     21   on Zoom, too, if I'm not mistaken.
                                                                22     the --
     22      Q. And Shaquita McComb?
                                                                23        Q. And Ms. Blake and Ms. Sanders?
     23      A. I'm thinking she was there, too. I don't
                                                                24        A. Yes. I remember them.
     24   quite know her as far as face-wise, but I know I
                                                                25        Q. Okay. You're not sure of Mr. Ellis?
     25   heard her name.

                                                 Page 11                                                     Page 13
      1      Q. What I'm trying to find out, were all            1       A. I'm not sure about him, but I remember
      2   the -- did all the plaintiffs sort of file a           2    them -- you know --
      3   grievance with the board of supervisors about          3       Q. Okay.
      4   being -- being terminated by the sheriff and not       4       A. -- Ms. Carolyn came to a couple of
      5   being rehired by the sheriff?                          5    meetings and observed.
      6      A. They just stated a complaint. They had           6       Q. And what was the board's response to their
      7   some issues going on with the sheriff's department,    7    complaint about being wrongfully terminated?
      8   and we listened to those concerns. At that time,       8       A. Well, at that time, we heard a lot of
      9   I -- I don't know if they got in depth, but they       9    complaints, because we're a government body. So we
     10   stated that they had some issues going on there.      10    stated that we heard their concern. We sent them
     11      Q. And do you know what issues they stated         11    back to the sheriff, because he's elected, and we
     12   they had concerns about?                              12    have no jurisdiction on that side.
     13      A. It was something with employment, stating,      13          And it was nothing we really could say.
     14   you know, employment as far as termination. I know    14    We just listened to their concerns.
     15   that.                                                 15       Q. Okay. Now the sheriff, he's the chief law
     16      Q. Okay. Going to try to see if I can show         16    enforcement officer for the county?
     17   you something to refresh your memory.                 17       A. Yes.
     18              MR. RHODES: I'm going to have this         18       Q. And he's the chief policymaker for law
     19           marked as Exhibit 2.                          19    enforcement for the county --
     20              MR. CARPENTER: Sure. Okay. And for         20       A. Yes, sir.
     21           reference, this is a letter that Shaquita     21       Q. -- is that correct?
     22           sent to the board of supervisors?             22          Okay. Now, when you say you-all did not
     23              MR. RHODES: Right.                         23    have any jurisdiction on that side, you mean you
     24              MR. CARPENTER: Got it. Okay.               24    didn't have any jurisdiction over the sheriff's
     25           (EXHIBIT 2 MARKED FOR THE RECORD.)            25    department?



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      1      A. Yeah. He's the elected official, so he's         1     employees have a chance to opt in for? What
      2   the governing body over there. We -- you know, we      2     insurance does the county provide?
      3   handle the budget, but he's elected.                   3        A. I guess general -- well, the insurance is
      4      Q. Now, in her statement, though, she didn't        4     through Nick Floyd & Associates, but I guess you
      5   say she was working for the sheriff's department.      5     got -- you can opt into the dental, all the above.
      6      A. Oh, well, he's, you know, over the               6     You know, you have that option.
      7   Jefferson County Correctional Facility, so he's        7        Q. Dental, health --
      8   tied into that. So we just call the sheriff on         8        A. Health and you got -- yeah.
      9   everything.                                            9        Q. Okay. What about life insurance? Does
     10      Q. Okay. So when you say he's -- he's tied         10     the county --
     11   in and being over the regional correctional           11        A. Yes. They have an option to take that,
     12   facility, through that memorandum of understanding    12     too. Yes, sir.
     13   that the county has with the Mississippi Department   13               THE COURT REPORTER: Try to be
     14   of Corrections?                                       14           careful not to -- I know you anticipate
     15      A. Now, like I said, that memorandum of            15           his question, but try to let him finish
     16   understanding was back then. I hadn't looked at       16           it. Y'all are cutting each other off a
     17   that, because I wasn't -- that's before my time.      17           good bit. Thank you.
     18   So I don't know what's in that memorandum of          18               THE WITNESS: All right. Thank you.
     19   understanding.                                        19     BY MR. RHODES:
     20          I know it should be one there because the      20        Q. The premiums for that insurance, how are
     21   facility is Jefferson County Correctional Facility,   21     those premiums paid?
     22   but I hadn't looked at that. I couldn't tell you      22        A. I have no idea. That's through our
     23   nothing about that. That's before my time.            23     payroll clerk and through the insurance. I don't
     24      Q. Okay. Now, Ms. Carolyn Smith, Shaquita          24     have an idea of that.
     25   McComb, Bonita Blake, Sandra Sanders, and James       25        Q. That was a bad question. What I was


                                                  Page 15                                                     Page 17
      1   Ellis, Jr., were they all county employees?            1    trying to find out: Does the county pay any
      2      A. Yeah. We -- we pay all employees through         2    portion of those insurance premiums, or does the
      3   the county. Yes, sir.                                  3    employee -- county employee pay all of it or part
      4      Q. Okay. And you-all paid their payroll?            4    of it?
      5      A. Yes. Payroll process, yes.                       5       A. That's a question -- a good question. I
      6      Q. What about any retirement benefits paid to       6    would have to ask. I don't know that process.
      7   PERS? The county paid that portion?                    7       Q. Now I'm going to go back to Exhibit 1. If
      8      A. Yes, sir. It's through the county. Yes,          8    you turn over to Interrogatory Number 7 and the
      9   sir.                                                   9    answer to Interrogatory Number 7, in 7, we asked to
     10      Q. Okay. And Social Security and Medicare          10    identify all statements made by any of the
     11   payments that have to be taken out --                 11    plaintiffs which support or tend to support the
     12      A. I guess the payroll. That goes to the           12    defendants' answer, and answer to it was defendants
     13   payroll, too. Yes, sir.                               13    have no such statements.
     14      Q. Okay. But the county takes care of --           14           Do I take that to mean that y'all don't
     15   pays that --                                          15    have any statements from any of the plaintiffs that
     16      A. Yes.                                            16    would support the defendants' answer to the
     17      Q. -- the employees?                               17    plaintiffs' complaint?
     18      A. Yes. We pay all county employees.               18               MR. CARPENTER: Yeah. And, you know,
     19      Q. And what about health insurance or medical      19           that -- that calls for a legal conclusion.
     20   insurance, dental insurance? What insurance does      20           And so, that was the decision made by this
     21   the county provide?                                   21           counsel as to whether or not -- for
     22      A. Well, I can't say because it depends on         22           example, this letter, if it had said
     23   what you opt in for, you know. But that all is in     23           relates to the answer, I'd have said it,
     24   that arena.                                           24           but I don't know if this necessarily
     25      Q. Okay. What insurance would county               25           supports.



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      1             So to the extent he can answer about         1     BY MR. RHODES:
      2         what supports an answer, that'll be fine.        2        Q. And number 12, actually, you know, the --
      3             MR. RHODES: And all I'm trying to do         3     state each reason that each one of the plaintiffs
      4         is find out is there any other information       4     were terminated by the correctional -- regional
      5         that you might have that would change this       5     correctional facility, and the response was no
      6         answer that they have, whether you say           6     plaintiffs were terminated.
      7         that you don't have --                           7           And I want to ask you: Why do you say
      8             MR. CARPENTER: Right.                        8     they weren't terminated?
      9             MR. RHODES: -- any -- any statements         9        A. We -- I said that they weren't terminated?
     10         from any of the plaintiffs that would           10        Q. Well, why would the county say that --
     11         support the defendants' answer.                 11        A. They weren't terminated?
     12             THE WITNESS: Now, you got to kind of        12        Q. Yeah.
     13         rephrase that. I'm not understanding.           13        A. I wouldn't -- I --
     14   BY MR. RHODES:                                        14        Q. The sheriff does the hiring and firing for
     15     Q. Okay. What I'm trying to find out: Is            15     the deputies?
     16   there any other information or -- let me strike       16        A. Yes. He does the hiring -- he's the
     17   that.                                                 17     governing body at that facility in the sheriff's
     18         Is your answer today still the same, that       18     department, and we don't intervene. You know, he's
     19   the defendants don't have any information that --     19     elected.
     20   any statements by any of the plaintiffs that would    20           So whatever went down, we -- we heard
     21   support your -- the defendants' answer?               21     their concerns, and that was under his discretion.
     22     A. That we -- that we as the defendants?            22     So we -- you know, he's the hiring -- he's the
     23     Q. Yeah. The defendants denied everything           23     person that does all --
     24   that they said happened, and you say you don't have   24        Q. For the sheriff's department?
     25   any statements from the plaintiffs?                   25        A. For the sheriff's department.


                                                 Page 19                                                      Page 21
      1      A. I wouldn't know -- with this statement, I        1         Q. But the -- for all the other county
      2   wouldn't know what happened. You know, I can only      2     employees, who hires and fires those county
      3   go by what they brought in the letter.                 3     employees?
      4      Q. Okay. Okay.                                      4         A. Well, they --
      5      A. And what -- you know, what was said.             5         Q. The road -- people working in the road
      6   So -- verbally.                                        6     department.
      7      Q. Okay.                                            7         A. Right. As supervisors, we only govern the
      8             MR. CARPENTER: Can we go off the             8     road department and the county administrator. So
      9         record for a second?                             9     it's -- upon firing, they would bring it to us
     10             MR. RHODES: Uh-huh. (Affirmative            10     because they're definitely under the umbrella of
     11         response.)                                      11     our two department heads.
     12               (OFF THE RECORD.)                         12             So the department heads would bring it to
     13   BY MR. RHODES:                                        13     us. He's not a department head. That falls under
     14      Q. And if you can flip over to Interrogatory       14     Jefferson County Board of Supervisors.
     15   Number 11, and Interrogatory Number 11 asks you to    15         Q. But those employees who work for the road
     16   state each conversation that Sheriff Bailey had       16     department and the administrators are county
     17   with each of the plaintiffs. And as far as the        17     employees?
     18   county knows, you-all don't know about the            18         A. Yes.
     19   conversations that Sheriff Bailey had with them?      19         Q. Is that correct?
     20      A. No, sir. At that time, we was running for       20         A. Yes.
     21   election ourselves trying to get back in.             21         Q. And all the plaintiffs were county
     22      Q. Okay. Okay. I'm just trying to make sure        22     employees, too?
     23   I don't get surprised later on with --                23         A. Right, right.
     24             MR. CARPENTER: Oh, you got it. Good         24                MR. CARPENTER: Objection.
     25         question.                                       25     BY MR. RHODES:


                                                                                     6 (Pages 18 to 21)
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      1      Q. And the county paid the plaintiffs, right?       1       Q. But who write the checks?
      2      A. County employees paid is on our payroll,         2       A. We approve the docket, the board of
      3   but that falls on the sheriff's department.            3    supervisors.
      4      Q. All the plaintiffs were paid sort of in          4       Q. You approve the claims docket?
      5   the same way that the folks in the road department     5       A. Yes, sir.
      6   and county administrative office were paid? It's       6       Q. But I'm trying to figure out the actual --
      7   all paid out of the same payroll office?               7    even if it's direct deposit, do you-all have a
      8      A. That's it. Everybody's paid out of the           8    payroll clerk or an administrator that handles that
      9   same payroll office, but that falls -- everybody       9    part of it?
     10   has their own budget. He's elected. He has his        10       A. He has someone that handles that part and
     11   own budget.                                           11    communicates with our central office.
     12      Q. But the sheriff did not have a separate         12       Q. So he would write checks straight from the
     13   office of payroll that write checks to --             13    sheriff's department?
     14      A. He has his employees, and with our staff,       14       A. It all comes from the county.
     15   his payrolls, his clearance, whatever, come through   15       Q. Right. That's what I'm trying to find
     16   our accounts.                                         16    out. Is there one central --
     17      Q. Okay.                                           17       A. Yes.
     18      A. Yes, sir.                                       18       Q. -- person?
     19      Q. But he doesn't write the checks?                19       A. Yeah. That -- yes.
     20      A. Nor do I.                                       20       Q. He might send his information to --
     21      Q. No, no. Right, right. But all the checks        21       A. Whereas his employees might send the
     22   are written from a common --                          22    information on whoever he has in that role.
     23      A. He hires and -- he hires, set the rates
                                                                23       Q. Send it to the -- who -- who is the person
     24   and does everything under that budget of the
                                                                24    that handles that for the county?
     25   correctional facility under his elected -- his
                                                                25       A. We have Ms. Thompson and Ms. Linda White.

                                                  Page 23                                                      Page 25
      1   jurisdiction.                                          1        Q. Okay. And what are their titles?
      2      Q. Now, who signs the county employees'             2        A. One is -- I can't think of Ms. -- payroll?
      3   payroll checks?                                        3     And Ms. Linda is the compcontroller and something
      4      A. The sheriff -- I think the sheriff signs         4     else she does, and the other lady, I can't think of
      5   his, and we sign ours, the board of supervisors.       5     her -- her -- her title.
      6      Q. County employees, payroll checks, payroll        6        Q. Okay. Now, if you can turn to
      7   that is made out, do the board of supervisors have     7     Interrogatory Number 15, I'm going to ask you if
      8   to approve those payments and spread it on their       8     you could read Interrogatory 15, and read it out
      9   minutes?                                               9     loud and then read your answer out loud.
     10      A. Just -- the salaries, yes. The payroll,         10        A. Okay. "State in specific detail each
     11   yes.                                                  11     written warning or reprimand given to Carolyn
     12      Q. And I'm trying to find out what difference      12     Smith, Shaquita McComb, Bonita Blake, Sandra
     13   is it between any employee that works for the road    13     Sanders, and James Ellis, Jr., concerning their
     14   department and an employee that works for the         14     respective jobs at Jefferson-Franklin Regional
     15   regional correctional facility, as far as pay is      15     Correctional Facility.
     16   concerned.                                            16           "Include in your response the date the
     17      A. As far as pay is concerned --                   17     warning was given, the person giving the warning,
     18      Q. How -- how -- how do those employees            18     the reason the warning was given, and witnesses to
     19   receive their pay?                                    19     the warning being given."
     20      A. Direct deposit, paper check, either/or,         20        Q. What was your answer to -- to the
     21   but the difference is that we hire those employees.   21     interrogatory?
     22   That's under our umbrella. And the sheriff hires      22        A. (No verbal response.)
     23   and does -- hires his own employees.                  23        Q. What was the answer?
     24      Q. Okay.                                           24        A. The answer? Oh, okay, to 15. I'm sorry.
     25      A. It's just spread across the minutes.            25     "Other than a reprimand given to Smith in 2006, no



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      1   written warnings were provided."                       1        A. Yes, sir.
      2      Q. So no written warnings were provided to          2        Q. Do you know how many people were running
      3   Shaquita McComb?                                       3     for sheriff in 2023 in the Democratic primary?
      4      A. I wouldn't have that -- privy to that            4     Because we know there's a primary runoff and then
      5   information. We don't look at their personnel          5     general.
      6   file, so that's under the sheriff -- leadership of     6        A. I think it was Sheriff Bailey, Sean Jones.
      7   the sheriff.                                           7     I can't think of the other guy. They call them --
      8      Q. Okay. And the only reason I'm asking, you        8     what's that guy's name? Shoot, I can't think of
      9   signed the answers, too --                             9     his name. There's one more other person. He's not
     10      A. Right.                                          10     around here anymore. There was another person in
     11      Q. -- and you got your information from the        11     there.
     12   sheriff in signing these answers?                     12        Q. Okay. There were three people in the --
     13      A. No. But I know we don't -- we don't -- we       13     including Sheriff Bailey in the first Democratic
     14   don't -- we don't look at reprimands like that.       14     primary?
     15   We're not -- that's under the sheriff. So we          15        A. I believe so.
     16   don't -- we -- when we do the payroll, pass the       16        Q. And it was Sheriff Bailey and Sean Jones
     17   motion, we look at it and go from there. He does      17     wound up in the runoff?
     18   the hiring and firing at that facility in the         18        A. Yes.
     19   sheriff's department.                                 19        Q. Did y'all ever campaign in this together?
     20      Q. Okay. I know. The only reason I'm               20     Not campaign together, but ever at the same events,
     21   asking, so you signed these answers that stated       21     you and Sheriff Bailey or any of the other
     22   that other than a reprimand given to Smith in 2006,   22     candidates?
     23   no written warnings were provided. And I'm just       23        A. I stopped at a couple and kind of
     24   trying to make sure that that answer came from        24     campaigned for myself. One in Jefferson County.
     25   information provided you by the sheriff.              25        Q. And who was -- who -- what other -- what


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      1      A. Yeah.                                            1     sheriff candidate --
      2      Q. I'm talking about the sheriff gave you the       2        A. I think I -- well, I don't know if the
      3   information to put in the answer?                      3     sheriff did. I think it was all us invited. So it
      4      A. No. He didn't give me the information.           4     was Sean Jones right over here.
      5   You know, we -- I guess we discussed it and talked     5        Q. Okay. Do you recall where and when that
      6   about it, but we wouldn't know if any other            6     was?
      7   reprimand was given.                                   7        A. I can't recall a date, but it was -- it
      8      Q. Okay. And that's what I'm trying to find         8     was during that year. It was right over here in
      9   out. You don't know of any other written               9     the city park. I was passing out some of my
     10   reprimand?                                            10     information.
     11      A. Don't know. I -- I --                           11        Q. Did Sheriff Bailey ever talk to you about
     12      Q. You don't know of any of them?                  12     how his campaign for sheriff was going?
     13      A. That -- that's his. This is employees,          13        A. No. I was concerned about myself.
     14   his employee personnel.                               14        Q. And do you know Ms. Carolyn Smith?
     15      Q. Okay.                                           15        A. Yes, I do.
     16      A. Yeah.                                           16        Q. And how do you know her?
     17             MR. CARPENTER: Off the record.              17        A. Being a school board member. Just being a
     18              (OFF THE RECORD.)                          18     productive citizen of Jefferson County.
     19   BY MR. RHODES:                                        19        Q. Okay. And she's elected to the school
     20      Q. To your knowledge, no employee had been         20     board?
     21   given a written reprimand?                            21        A. Yes.
     22      A. To my knowledge. That. . .                      22        Q. County school board?
     23      Q. Okay. And I know you said you and the           23        A. Yes, sir.
     24   sheriff were involved in elections during the same    24        Q. Did you ever go to any campaign events
     25   time in 2023.                                         25     where you saw Ms. Smith there?


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       1      A. No. I don't remember seeing her at any of        1        A. Okay.
       2   them.                                                  2        Q. Which is different from --
       3      Q. What about Ms. Shaquita McComb? Do you           3        A. Right, right.
       4   know her?                                              4        Q. -- the county and the sheriff --
       5      A. I really don't know her, but I know the          5        A. I know we adopted one, but I don't
       6   other -- you know, I recognize her by face if I can    6     remember seeing that one at the correctional
       7   see her, but I know the rest of them.                  7     facility. I know he was working on a handbook. So
       8      Q. Did you ever see her at any campaign?            8     I can't say, you know, that grievance procedure,
       9      A. Who?                                             9     but I was heavily involved in ours.
      10      Q. Ms. Shaquita McComb.                            10        Q. And the reason I was going to ask you
      11      A. Okay. Wouldn't know if I seen her, unless       11     about -- in that first sentence, they talk about
      12   I -- somebody probably introduced me, but I didn't    12     resolving grievances with employees, and I was
      13   see her, but I don't really know her by face.         13     going to ask you: What would the board mean by
      14      Q. Bonita Blake?                                   14     employees? Is that county employees?
      15      A. I know Ms. Blake. I hadn't seen her             15        A. Again, you have to -- this is with the
      16   either.                                               16     correctional facility with their handbook. We can
      17      Q. At any campaign?                                17     go back to our handbook, but I have no recollection
      18      A. I hadn't seen her either. No, sir.              18     of his handbook for the correctional facility
      19      Q. Sandra Sanders?                                 19     because we adopted one.
      20      A. Hadn't seen her.                                20            That might have been adopted for my time.
      21      Q. At any campaign?                                21     So I hadn't reviewed his. So I can't comment on
      22      A. Right.                                          22     something I haven't reviewed.
      23      Q. And James Ellis, Jr.?                           23        Q. But the employees at the correctional
      24      A. Correct. Hadn't seen him at any campaign.       24     facility are county employees; are they not?
      25             MR. RHODES: I'll have this marked as        25        A. Right.


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       1          the next exhibit. Thank you, ma'am.             1               MR. CARPENTER: Object, but it's
       2              MR. CARPENTER: Okay. Correct. All           2            okay. I mean, it's --
       3          right. Very good. Grievance procedure.          3               THE WITNESS: Okay.
       4          (EXHIBIT 3 MARKED FOR THE RECORD.)              4     BY MR. RHODES:
       5   BY MR. RHODES:                                         5        Q. They are county employees?
       6      Q. I want you to take a moment and look over        6        A. They are paid through the county. Yeah,
       7   that grievance procedure --                            7     yes, sir. Paid by the county. They are employees
       8              MR. CARPENTER: And the context?             8     of the correctional facility under his budget, so
       9          That's coming from the employee handbook,       9     they are paid through the county.
      10          right?                                         10            All departments are paid through the
      11              MR. RHODES: Yes.                           11     county, but they fall under the leadership of the
      12              MR. CARPENTER: You got it. Okay.           12     sheriff and department head.
      13              THE WITNESS: (Witness reviews              13        Q. So folks in the road department fall under
      14          document.)                                     14     the leadership of the supervisors?
      15   BY MR. RHODES:                                        15        A. Fall under the leadership of the road
      16      Q. Now, that's a grievance procedure I think       16     manager. We govern the road manager and the county
      17   the county adopted for the regional correctional      17     administrator. If they have a problem, they follow
      18   facility, and I was going to ask you had you seen     18     protocol and get to us like everybody else did. We
      19   it before. Do you recognize it?                       19     hear all concerns.
      20      A. I haven't -- is this the new -- is this         20        Q. But they're considered county employees?
      21   the sheriff's department handbook, come out of his    21               MR. CARPENTER: Same objection. Go
      22   handbook?                                             22            ahead. It's all good.
      23      Q. No. It came out of Jefferson --                 23               THE COURT REPORTER: Did you say
      24   Jefferson-Franklin Regional Correctional Facility's   24            objection, go ahead?
      25   handbook.                                             25               MR. CARPENTER: Yeah, I did. This is



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       1          a discovery deposition. He can pretty           1        Q. Now, are there any minutes from the board
       2          much ask everything but my sock size, and       2     of supervisors where they address this grievance,
       3          it's good to go.                                3     the grievances that they were presenting?
       4               MR. RHODES: I'm going to probably          4        A. Should be, yeah. All minutes are
       5          put this together as well as -- have it         5     recorded, and the Zoom, video recording both ways,
       6          marked.                                         6     so. . .
       7               MR. CARPENTER: Okay.                       7        Q. Because I wanted to ask: Do you recall
       8               MR. RHODES: This will be Exhibit 4?        8     what that -- what the final decision or the
       9               THE COURT REPORTER: Exhibit 4, yes,        9     determination was as reflected in the board minutes
      10          sir.                                           10     concerning their grievances?
      11               MR. CARPENTER: That's what it is.         11        A. I -- I -- the final decision, I can't. I
      12          Okay. Very good.                               12     just know when they came, and we directed them to
      13          (EXHIBIT 4 MARKED FOR THE RECORD.)             13     follow the process, you know, which is, you know,
      14   BY MR. RHODES:                                        14     we heard their concerns.
      15      Q. Mr. King, I put two different letters           15             So I don't know what the final decision
      16   together as Exhibit 4. The second page of that is     16     was with -- with this going to the county
      17   a letter Ms. Smith wrote, and the first page is a     17     administrator, getting on the -- like I said, you
      18   response that she received. So I want you to look     18     got day-to-day operations, and the statute for the
      19   at the second page first.                             19     county supervisor, we don't -- it -- you don't get
      20      A. (Witness reviews document.) Okay.               20     in the day-to-day operation. You govern it to the
      21      Q. Okay. Now, the second page, Ms. Smith           21     county administrator. Any concerns goes through
      22   wrote a letter to the board of supervisors about      22     the protocol through her.
      23   being put on the agenda about the grievance she had   23        Q. Okay. But I mean a decision on the
      24   for being wrongfully terminated from the              24     grievance.
      25   Jefferson-Franklin Correctional Facility.             25        A. The grievance, yes, yes.


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       1      A. Right.                                           1        Q. Were there any minutes reflecting the
       2      Q. And she received a response from Warden          2     decision the board of supervisors made on the
       3   Felton about her grievance --                          3     grievance?
       4      A. Yes, sir.                                        4        A. Well, the grievance would have went -- it
       5      Q. -- by being put on the board of                  5     came to us, but we directed it to the sheriff, too,
       6   supervisors?                                           6     because he's elected. Like I said, he's elected,
       7      A. She actually forwarded a letter to our           7     and that was under his jurisdiction. So we
       8   past county administrator, Brenda Buck, to be put      8     directed him to follow the process through him.
       9   on the agenda, and the employee -- Jefferson County    9        Q. So that's what I'm asking. The minutes
      10   Employee's Handbook. I see that now. Yeah. She        10     are going to say --
      11   was.                                                  11        A. Yes, sir, they should.
      12      Q. And that's the meeting that you said            12        Q. -- follow the process through the sheriff?
      13   Ms. Smith and -- everybody, except you don't          13        A. Not in that wording, but we all -- it's
      14   remember Mr. Ellis, but all the women showed up       14     five supervisors. So from my recollection, we
      15   to --                                                 15     explained that the concerns, which was
      16      A. I remember most of the women because they       16     disheartening, we would direct them to follow the
      17   was on Zoom with us, and Ms. Smith kind of came to    17     process. Protocol.
      18   our meetings afterward. Her presence was felt for     18        Q. Now, see, I understand what you-all might
      19   the next six or seven months.                         19     have done in the meeting --
      20      Q. But now you don't remember Mr. Ellis?           20        A. Right.
      21      A. I don't remember -- I can't -- I can't say      21        Q. -- but, you know, the board only speaks
      22   if I remember seeing him, but Ms. Smith spoke, and    22     through its minutes --
      23   somebody else spoke. I remember Ms. Smith,            23        A. Right.
      24   Ms. Sandra, and Ms. Blake. And I -- I -- I just       24        Q. -- and I was -- I'm trying to see if the
      25   can't remember the other one.                         25     minutes reflect what y'all told them.


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       1      A. They should.                                    1     first two years. I don't know the date, you know,
       2      Q. And so, the minutes -- do you recall when       2     but it should have been somewhere in the first
       3   that meeting was so I know what -- what minutes to    3     term. Might been coming up to election. I can't
       4   look for?                                             4     remember.
       5              MR. CARPENTER: Oh, we're already           5        Q. Coming up to the election?
       6          looking for them. Yeah, yeah. I talked         6        A. Coming to the election. Might have been
       7          to -- I talked to Nickita. We'll pull          7     '22, '23, somewhere along in there.
       8          those. There were two. There was one           8        Q. Okay. I'm going to ask you generally if
       9          during an ice storm that was a Zoom and        9     the board of supervisors ever approve a general --
      10          one in person.                                10                MR. RHODES: I'll have that marked as
      11              THE WITNESS: Yeah.                        11            the next exhibit, Exhibit 5.
      12              MR. RHODES: Okay. But I'm going to        12                MR. CARPENTER: Okay. So this
      13          look for them, too.                           13            would -- also just make sure I understand,
      14              MR. CARPENTER: Okay. That'll work.        14            this is coming from the Jefferson County
      15          We'll help you.                               15            Correctional Facility handbook?
      16              THE WITNESS: I think they own it.         16                MR. RHODES: Yes.
      17              MR. CARPENTER: Between us we'll find      17                MR. CARPENTER: Fair enough. Okay.
      18          them.                                         18            There you go.
      19              MR. RHODES: Give me just a minute.        19            (EXHIBIT 5 MARKED FOR THE RECORD.)
      20          I'm going to take a minute break.             20     BY MR. RHODES:
      21                (OFF THE RECORD.)                       21        Q. Mr. King, I want to ask you whether or not
      22   BY MR. RHODES:                                       22     the board of supervisors ever approved that policy.
      23      Q. Mr. King, do you remember attending a          23        A. Again, I guess here I can't say that we
      24   political forum in Union Church?                     24     have because that's the correctional facility. We
      25      A. Yes.                                           25     approved our handbook, but, of course, that -- this


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       1      Q. And do you remember people asking was a         1     is probably before my time already established.
       2   supervisor all -- was it all good at the time?        2            So as far as the handbook, I haven't
       3      A. Yes.                                            3     reviewed it or looked at anything at the
       4      Q. About the -- what the supervisors could do      4     correction -- Jefferson County Correctional
       5   about the regional correctional facility?             5     Facility.
       6      A. I don't remember that question, but I           6        Q. Would it be standard procedure for the
       7   remember them asking a bunch of questions about       7     board of supervisors to approve any handbook issued
       8   supervisors.                                          8     by the -- about employees issued by the sheriff's
       9      Q. And do you remember Ms. Smith asking            9     department?
      10   specific questions about the -- what the             10        A. Well, come to think back when you asked me
      11   supervisors could do about the regional              11     the other question, I got it confused with the
      12   correctional facility?                               12     sheriff's department. The sheriff's department are
      13      A. I can't remember that question. I know         13     our employees. The correctional facility are the
      14   she got up and asked a question, but I can't         14     correctional facility employees, where the money
      15   remember that question.                              15     come from MDOT inmate housing that's wired to the
      16      Q. And do you remember that you answered more     16     county, then it goes to the sheriff's fund.
      17   questions than Supervisor Osgood? Because it         17            So they're not our employees. The sheriff
      18   looked like the people were getting on him.          18     department, we go -- they fall under our handbook,
      19      A. Yeah. That -- that's -- that is true.          19     the deputies. So. . .
      20      Q. Yeah.                                          20        Q. The deputies?
      21      A. Yes, sir.                                      21        A. Yes.
      22      Q. Do you recall when that public forum was       22        Q. But now, are deputies county employees?
      23   held in Union Church?                                23        A. The deputies are. They follow under our
      24      A. That was 20- -- that might have been -- I      24     handbook and our payroll. The correctional
      25   can't remember. It was during the first term, the    25     facility doesn't.



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       1      Q. And that's why I asked earlier about             1     part of that budget right there for that facility.
       2   that --                                                2     So it comes from those funds from inmate housing.
       3      A. Yeah. I got --                                   3        Q. Okay. I know where you say where the
       4      Q. -- memorandum of understanding.                  4     money -- source of the money.
       5      A. Yeah. I got confused, because --                 5        A. Yeah.
       6      Q. That's why I asked about the MOU.                6        Q. But I'm talking about who actually writes
       7      A. -- the sheriff's department -- yeah. Yes,        7     the checks that are paid out.
       8   yes.                                                   8        A. I'm assuming that comes from his facility,
       9      Q. And along that line, the sheriff's               9     you know, the people that work in that facility.
      10   department receives part of the funds, federal        10        Q. So if we subpoenaed records from Jefferson
      11   funds that come in, that come to the -- to the        11     County, payroll records --
      12   county, law enforcement federal funds?                12        A. I can't say --
      13      A. I can't gauge on the funds. I have to           13        Q. -- we won't see any checks signed by any
      14   look back at it. I can't really say. I looked at      14     of those two ladies issued to employees of the
      15   the budget, but his budget is computed with him,      15     correctional facility?
      16   with them, that department.                           16        A. I -- I don't know that process. I know
      17      Q. All right. But --                               17     that that money comes from MDOT for inmate housing.
      18      A. It falls on them.                               18     The sheriff's department falls under -- our checks
      19      Q. But the employees of the correctional           19     come from our payroll. They're not paid as county
      20   facility receive a check from Jefferson County,       20     employees.
      21   don't they?                                           21        Q. Now, the source of county funds are state,
      22      A. I think that comes from the correctional        22     federal, and local funds; is that correct?
      23   facility, you know. It -- it comes there with         23        A. Uh-huh. (Affirmative response.)
      24   their money. We -- I -- that money runs through       24        Q. Is that yes?
      25   his department.                                       25        A. State?


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       1       Q. I know, but I'm talking about the actual        1        Q. State, federal, and local --
       2   checks that's issued to the employees.                 2        A. We get state funds. Yeah, yes.
       3       A. Yeah. It signed -- signed by the                3        Q. And you get federal funds?
       4   sheriff's check -- James -- Sheriff James Bailey.      4        A. Yes, yes, sir.
       5   So I have no signature on that.                        5        Q. Yeah. But they all go into the county
       6       Q. Does the sheriff have a separate bank           6     funds?
       7   account where he issues checks?                        7        A. They go for the county -- for the county
       8       A. He -- that -- his money has -- comes to         8     funds because --
       9   the payroll clerk. I -- I can't answer that            9        Q. Yeah.
      10   question because I know it's separate -- the          10        A. Yes.
      11   correctional facility is separate from us. So         11        Q. And the two ladies you mentioned, they
      12   it -- nine times out of ten, it does. The             12     write those checks out?
      13   sheriff's department falls under our budget.          13        A. That processes through our payroll, yes.
      14       Q. The uniforms that the correctional             14        Q. And all I was asking is that the funds
      15   facility employees wear, who bought those uniforms?   15     that the sheriff might get, he -- those funds are
      16       A. Then that comes out of his money. That         16     put into the county fund where those two ladies
      17   comes there from MDOC. I don't know that process,     17     write those checks out?
      18   but I'm assuming it does.                             18        A. Well, they're deposited. Then they fund
      19       Q. I know. I'm asking who write those checks      19     it over -- send it to his -- to the correctional
      20   to pay for those uniforms? Does the --                20     facility funds, accounts, and pay it through there.
      21       A. I think -- that's in his --                    21        Q. Does the sheriff have someone to pay PERS?
      22       Q. -- one of those two ladies?                    22        A. That I don't know. You know, PERS falls
      23       A. I don't -- I can't say because that --         23     under the county. So I don't know with the
      24   that's part of his money that he gets for his         24     facility how that worked, but the sheriff's
      25   inmates. Whatever correctional facility, that's       25     department PERS falls under us.



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       1      Q. Did you know that Carolyn Smith had PERS         1        Q. -- Jefferson-Franklin Correctional
       2   contributions paid by Jefferson County?                2     Facility --
       3             MR. CARPENTER: He's asking you if            3        A. Yeah.
       4          you know.                                       4        Q. -- is different from the sheriff's
       5             THE WITNESS: No. I have no idea              5     department, isn't it?
       6          what's coming out of their check.               6        A. Yes.
       7   BY MR. RHODES:                                         7        Q. And you don't know if there's a memorandum
       8      Q. Do you recall if Shaquita McComb had PERS        8     of understanding between Jefferson County and
       9   payments paid by Jefferson County?                     9     Mississippi Department of Corrections about the
      10      A. I can't say. You know, I hadn't seen they       10     Jefferson-Franklin Correctional -- Regional
      11   pay stub.                                             11     Correctional --
      12      Q. Bonita Blake had PERS payments --               12        A. It should be, but that's before -- the
      13      A. Okay.                                           13     facility's been there so long, I wasn't there at
      14      Q. -- paid by Jefferson County?                    14     the beginning.
      15      A. (No verbal response.)                           15        Q. All right.
      16             THE COURT REPORTER: Yes?                    16                MR. RHODES: That's all I got.
      17   BY MR. RHODES:                                        17                MR. CARPENTER: I don't have nothing.
      18      Q. Do you know?                                    18            We're good.
      19      A. I -- I -- I can't say, you know, if -- I        19                THE COURT REPORTER: Read and sign?
      20   don't know that process, but I know, you know, that   20                MR. RHODES: You want to read and
      21   that side is the correctional facility. So it's a     21            sign? Are you good with everything you
      22   state thing, so it probably was in PERS, but I        22            said?
      23   don't know how this process --                        23                THE WITNESS: I'm good with
      24      Q. Sandra Sanders had PERS?                        24            everything.
      25      A. Have no idea.                                   25                MR. CARPENTER: Yeah. We'll waive.


                                                  Page 47                                                   Page 49
       1      Q. James Ellis, Jr.?                                1             THE COURT REPORTER: But you want a
       2      A. Have no idea how that worked.                    2          copy?
       3      Q. And what about payments from their payroll       3             MR. CARPENTER: Yes, ma'am.
       4   made to the United States Treasury for federal         4         (DEPOSITION CONCLUDED AT 1:05 P.M.)
       5   income tax? Do you know if the county made those       5
       6   payments?                                              6     ORIGINAL: CARROLL E. RHODES, ESQ.
       7      A. I don't know the process.                        7     COPY: THOMAS L. CARPENTER, JR., ESQ.
       8      Q. What about Medicare, Medicaid?                   8
       9      A. Still don't know that process.                   9
      10      Q. What if -- what about insurance? If             10
      11   Carolyn Smith had medical insurance?                  11
      12      A. I wouldn't know that process. I wouldn't        12
      13   know if they -- I don't look at their stubs like      13
      14   that. So. . .                                         14
      15      Q. So you don't know if the county paid all        15
      16   that?                                                 16
      17      A. Don't know. I mean, I don't -- I'm not on       17
      18   that side. I know, like I said, the sheriff's         18
      19   department PERS, we are in PERS. I'm not in those     19
      20   departments. That's day-to-day operation that we      20
      21   don't get into.                                       21
      22      Q. I know you said sheriff's department --         22
      23      A. Sheriff's department.                           23
      24      Q. -- now, but Jefferson Correctional --           24
      25      A. Jefferson-Franklin.                             25



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       1           CERTIFICATE OF COURT REPORTER
       2      I, Ella J. Hardwick, CVR-M, CCR #1749, Court
       3   Reporter and Notary Public in and for the State of
       4   Mississippi, hereby certify that the foregoing
       5   contains a true and correct transcript, to the best
       6   of my ability, as taken by me in the aforementioned
       7   matter at the time and place heretofore stated.
       8      I further certify that under the authority
       9   vested in me by the State of Mississippi the
      10   witness was placed under oath by me to truthfully
      11   answer all questions in the matter. I further
      12   certify that I am not in the employ of or related
      13   to any counsel or party in this matter and have no
      14   interest, monetary or otherwise, in the final
      15   outcome of this matter.
      16      Witness my signature and seal this the 13th day
      17   of May, 2025.
      18
      19              __________________________________
                      Ella J. Hardwick, CVR-M, CCR #1749
      20
           My Commission Expires:
      21   February 8, 2029
      22
      23
      24
      25




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